             Case 19-25903        Doc 25-1     Filed 04/06/20     Page 1 of 3




                  UNITED STATES BANKRUPTCY COURT FOR
                       THE DISTRICT OF MARYLAND

IN RE: Edouard L Benjamin                                      Case no. 19-25903-RAG

                   (Debtor(s)                                         Chapter 13


Edouard L Benjamin

                   Movant(s)

Department of Labor Federal Credit Union

                 Respondent(s)

  Notice of Motion to Value Collateral and Set Interest Rate and Hearing Thereon

A Motion to Value Collateral and Set Interest Rate was filed on behalf of the debtor(s) to

affect Department of Labor Federal Credit Union’s rights in a 2520 Madison Avenue,

Baltimore, MD Your rights may be affected. You should read these papers carefully and

discuss them with your attorney. A copy of the motion is attached. If you do not want the

court to grant the motion avoiding lien, or if you want the court to consider your views on

the motion, then by 5/04/2020, you or your attorney must file with the Clerk of the

Bankruptcy Court, a written response to the motion explaining your position and mail a

copy of such response to:

                                      J. Michael Broumas, Esquire
                                      8370 Court Avenue, Suite 203
                                      Ellicott City, MD 21043

       If you mail, rather than deliver, your response to the Clerk of the Court for filing,

you must mail it early enough so the court will receive it by the date stated above. If a

timely response is filed a hearing on the motion will take place on 5/29/2020 at 10:30

AM – Courtroom 1-B, United States Bankruptcy Court located at 101 W Lombard St
             Case 19-25903          Doc 25-1   Filed 04/06/20   Page 2 of 3




Baltimore, MD 21201.

       If you or your attorney do not file and serve a timely response to the motion, the

Court may find that you do not oppose the relief sought in the motion and may grant or

otherwise dispose of the motion before the scheduled hearing date.


Date: April 06, 2020

                                                     /s/ J. Michael Broumas
                                                     J. Michael Broumas, Esquire
                                                     8370 Court Avenue, Suite 203
                                                     Ellicott City, MD 21043
                                                     410-840-7575

                             CERTIFICATE OF SERVICE


               I HEREBY CERTIFY that on April 06, 2020 , I reviewed the Court’s

CM/ECF system and it reports that an electronic copy of Notice of Motion to Value

Collateral and Set Interest Rate and Hearing Thereon first-class, postage-prepaid to on

this April 06, 2020 to::

Robert S. Thomas, II

       I HEREBY FURTHER CERTIFY that on April 06, 2020 I mailed a copy of
Notice of Motion to Value Collateral and Set Interest Rate and Hearing Thereon first
class mail, postage prepared, to:
POC Notices:
Department of Labor Federal Credit Union
c/o Silverman Theologou, LLP
11200 Rockville Pike Ste. 520,
N. Bethesda, MD 20852

POC Signor:
Diana C. Theologou
Attorney for Dept of Labor FCU
c/o Silverman Theologou, LLP
11200 Rockville Pike Ste. 520,
N. Bethesda, MD 20852
             Case 19-25903     Doc 25-1    Filed 04/06/20    Page 3 of 3




Joan Moran
President/CEO
Department of Labor Federal Credit Union
200 Constitution Ave NW,
Washington, DC 20210

                                           /s/    J. Michael Broumas
                                           J. Michael Broumas, Esquire
